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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    January 8, 2021
BY ECF
                                                         1/11/2021
The Honorable Paul A. Crotty                             A two-week extension is
United States District Judge                             granted. SO ORDERED.
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. David Leanos Perez, 20 Cr. 300 (PAC)

Dear Judge Crotty:

       The Government respectfully writes, with the consent of the defendant, to request a two-
week adjournment to file its opposition to the defendant’s pretrial motions. The Government’s
opposition is currently due on January 11, 2021. The parties are in the midst of discussions that
may obviate the need for continued motions practice, but require additional time to complete those
discussions.


                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney


                                              By:   /s/ Daniel G. Nessim
                                                    Daniel G. Nessim
                                                    Assistant United States Attorney
                                                    (212) 637-2486
